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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD



UNITED STATES OF AMERICA



v.                                       CRIMINAL NO. 1:14-00175-02

WILLIAM SYKES


                      MEMORANDUM OPINION AND ORDER


        In Bluefield, on February 27, 2015, came the defendant

William Sykes, in person and by counsel, William S. Winfrey, II,

Esquire, and came the United States by Timothy Boggess, Assistant

United States Attorney, for the purpose of considering the defendant=s

plea of guilty to Count Six of the Indictment charging him with

distribution of a quantity of cocaine base, in violation of 21 United

States Code, Section 841(a)(1).       Teresa King, Senior Probation

Officer appeared on behalf of the United States Probation Department.

        The court inquired of the defendant, addressing him

personally and by counsel, to determine the competency of the

defendant to proceed.     The court found the defendant competent.

        The court informed the defendant of the maximum penalties

to which he will be exposed by virtue of his plea of guilty and

defendant acknowledged his understanding of the same.
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         The court next inquired as to the defendant=s plea and the

defendant responded that he intended to plead guilty.              The court

explained the range of penalties to which the defendant would be

exposed by virtue of his guilty plea.        The court also explained the

statute under which this action is prosecuted and the elements which

the United States would have had to prove, beyond a reasonable doubt,

had the matter been tried.    The Assistant United States Attorney then

stated the factual basis establishing that the defendant committed

the offense to which he was pleading guilty.          The defendant admitted

that the factual basis as stated was substantially true.

         The court further informed the defendant, pursuant to the

requirements of Rule 11 of the Federal Rules of Criminal Procedure,

of the constitutional and other rights he would waive by pleading

guilty to Count Six of the Indictment.      The court then determined that

the defendant understood those rights.          The court advised the

defendant that he could not withdraw his plea if he was dissatisfied

with the sentence rendered.

         The court inquired of the defendant personally as to whether

any threats or promises had been made to him to induce him to plead,

whether any predictions were made regarding the sentence he might

receive, and whether he had any second thoughts about entering a plea

of guilty, to which questions the defendant responded in the negative.




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         Based upon the defendant=s plea of guilty, as well as his

factual admission of guilt, the court found that there existed a

factual and legal basis for the defendant=s plea of guilty.         Based upon

the United States= proffer of evidence against the defendant, the court

found that there also existed an independent factual basis for the

defendant=s plea of guilty.      The court further found that the

defendant tendered his plea of guilty voluntarily and with a full

understanding and awareness of the constitutional and other rights

which he gives up by pleading guilty, and with an awareness of what

the United States would have to prove against him if the case went

to trial.   The court further found that the defendant had an

appreciation of the consequences of his plea and accepted the

defendant=s plea of guilty.

         Pursuant to Sentencing Guideline ' 6B1.1(c), the court

deferred an adjudication of guilt pending receipt of the presentence

investigation report.      Accordingly, the court adjudges and the

defendant now stands provisionally guilty of Count Six of the

Indictment.

         The court scheduled the disposition of this matter for June

25, 2015, at 10:30 a.m., in Bluefield.         The Probation Department is

directed to conduct a presentence investigation in this matter and

to provide a report to this court.       Unless otherwise directed by this




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court, the probation officer is not to disclose the officer=s

sentencing recommendation to anyone except the court.

         The defendant was remanded to the custody of the United States

Marshal.

         The Clerk is directed to send a copy of this Memorandum Opinion

and Order to counsel of record, the United States Marshal for the

Southern District of West Virginia and the Probation Office of this

court.

         IT IS SO ORDERED this 27th day of February, 2015.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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